     Case: 1:16-cv-03371 Document #: 152 Filed: 11/20/17 Page 1 of 3 PageID #:1651



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION



SONRAI SYSTEMS, LLC,
                       Plaintiff,                   Civil Action No.: 1:16-cv-03371
v.
                                                    JURY TRIAL DEMANDED
ANTHONY M. ROMANO, GEOTAB, INC.,
THE HEIL CO. d/b/a ENVIRONMENTAL                    Honorable Thomas M. Durkin
SOLUTIONS GROUP AND ALLIANCE                        United States District Judge
WIRELESS TECHNOLOGIES, INC.,
                       Defendants.



              UNOPPOSED MOTION TO WITHDRAW AND TERMINATE
               JUSTIN C. COLANNINO AS AN ATTORNEY OF RECORD

        Defendant, Geotab, Inc. (“Geotab”), by and through its attorney, Michael A. Albert of

Wolf, Greenfield & Sacks, P.C., pursuant to L.R. 83.17, and for their Motion to Withdraw and

Terminate Justin C. Colannino as an Attorney of Record in this case, state as follows:

        1.     Local Rule 83.17 provides for the substitution of attorneys when counsels are

from the same firm.

        2.     As of November 21, 2017, Justin C. Colannino will no longer be working at Wolf,

Greenfield & Sacks, P.C. and will no longer be participating in this case.

        3.     Michael A. Albert, who has an appearance on file, will continue to represent the

same Defendant previously represented by Mr. Colannino.

        4.     Counsel for Plaintiff Sonrai Systems, LLC does not oppose this motion.
   Case: 1:16-cv-03371 Document #: 152 Filed: 11/20/17 Page 2 of 3 PageID #:1652



        5.        The undersigned respectfully requests that Justin C. Colannino be removed from

all service lists, including the CM/ECF system. Michael A. Albert will remain as lead counsel in

this case.

        WHEREFORE, Defendant Geotab respectfully requests that this Court enter an Order

withdrawing the appearance of Justin C. Colannino and terminating him as an attorney of record

in this matter.




Dated: November 20, 2017                       /s/ Justin C. Colannino
                                               Michael A. Albert
                                               Justin C. Colannino (pro hac vice)
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                                               Counsel for Defendant Geotab, Inc.




                                                  2
   Case: 1:16-cv-03371 Document #: 152 Filed: 11/20/17 Page 3 of 3 PageID #:1653



                                CERTIFICATE OF SERVICE


       I hereby certify that on November 20, 2017, I caused a true and accurate copy of the

foregoing document to be filed electronically with the Clerk of the Court by using the Court’s

CM/ECF system, which will send a notice of electronic filing to all counsel of record.




                              /s/ William P. Oberhardt
                              William P. Oberhardt (Atty. No. 3122407)
                              Kathleen A. Lyons
                              OLSON & CEPURITIS, LTD.
                              20 N. Wacker Drive, 36th Floor
                              Chicago, IL 60606
                              Tel: (312) 580-1180
                              woberhardt@olsonip.com
                              klyons@olsonip.com
                              Local Counsel for Defendant Geotab, Inc.




                                                3
